                            Case 2:15-cv-00370-GJP Document 112 Filed 04/30/18 Page 1 of 5
$2        5HY%LOORI&RVWV


                                                  81,7('67$7(6',675,&7&2857
                                                                                              IRUWKH
                                                                       Eastern District of Pennsylvania

                        ROGER VANDERKLOK,                                                          
                                                                                                   
                                           Y                                                               &DVH1R 2:15-cv-00370-GJP
            UNITED STATES OF AMERICA, et al.                                                       
                                                                                                   

                                                                                   BILL OF COSTS
-XGJPHQWKDYLQJEHHQHQWHUHGLQWKHDERYHHQWLWOHGDFWLRQRQ                                           04/23/2018                   DJDLQVW          Roger Vanderklok                       
                                                                                                              Date
WKH&OHUNLVUHTXHVWHGWRWD[WKHIROORZLQJDVFRVWV

)HHV RI WKH &OHUN                                                                                            0.00

)HHVIRUVHUYLFHRIVXPPRQVDQGVXESRHQD                                                                                              0.00

)HHVIRUSULQWHGRUHOHFWURQLFDOO\UHFRUGHGWUDQVFULSWVQHFHVVDULO\REWDLQHGIRUXVHLQWKHFDVH                                                                  3,547.20

)HHV DQG GLVEXUVHPHQWV IRU SULQWLQJ                                                    
)HHVIRUZLWQHVVHV(itemize on page two)                                                                                         0.00

)HHVIRUH[HPSOLILFDWLRQDQGWKHFRVWVRIPDNLQJFRSLHVRIDQ\PDWHULDOVZKHUHWKHFRSLHVDUH
QHFHVVDULO\REWDLQHGIRUXVHLQWKHFDVH                                          0.00

'RFNHWIHHVXQGHU86&                                                                                               0.00

&RVWV DV VKRZQ RQ 0DQGDWH RI &RXUW RI $SSHDOV                                                                                     0.00

&RPSHQVDWLRQRIFRXUWDSSRLQWHGH[SHUWV                                                                                              0.00

&RPSHQVDWLRQRILQWHUSUHWHUVDQGFRVWVRIVSHFLDOLQWHUSUHWDWLRQVHUYLFHVXQGHU86&                                                                                 0.00

2WKHUFRVWV(please itemize)                                                                                           0.00 

                                                                                                                                                  727$/                       3,547.20

SPECIAL NOTE:$WWDFKWR\RXUELOODQLWHPL]DWLRQDQGGRFXPHQWDWLRQIRUUHTXHVWHGFRVWVLQDOOFDWHJRULHV

                                                                                          Declaration
          ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKHIRUHJRLQJFRVWVDUHFRUUHFWDQGZHUHQHFHVVDULO\LQFXUUHGLQWKLVDFWLRQDQGWKDWWKH
VHUYLFHVIRUZKLFKIHHVKDYHEHHQFKDUJHGZHUHDFWXDOO\DQGQHFHVVDULO\SHUIRUPHG$FRS\RIWKLVELOOKDVEHHQVHUYHGRQDOOSDUWLHV
LQWKHIROORZLQJPDQQHU
         ✔
         u          (OHFWURQLFVHUYLFH                                      u         )LUVWFODVVPDLOSRVWDJHSUHSDLG
          u         2WKHU
            V$WWRUQH\              /s/ Jeffrey M. Scott
                           1DPHRI$WWRUQH\ Jeffrey M. Scott, Esquire
)RU                                                            Charles Kieser                                                                          'DWH          04/30/2018
                                                              Name of Claiming Party

                                                                                    Taxation of Costs
&RVWVDUHWD[HGLQWKHDPRXQWRI                                                                                                                            DQGLQFOXGHGLQWKHMXGJPHQW

                                                                                    %\
                           Clerk of Court                                                                          Deputy Clerk                                             Date
                       Case 2:15-cv-00370-GJP Document 112 Filed 04/30/18 Page 2 of 5
$25HY%LOORI&RVWV


                                      81,7('67$7(6',675,&7&2857
                                      Witness Fees (computation, cf. 28 U.S.C. 1821 for statutory fees)
                                                                     $77(1'$1&(           68%6,67(1&(            0,/($*(
                                                                                                                                       7RWDO&RVW
            1$0(&,7<$1'67$7(2)5(6,'(1&(                                 7RWDO                7RWDO                7RWDO        (DFK:LWQHVV
                                                                     'D\V      &RVW       'D\V      &RVW      0LOHV      &RVW

 Det Michael Wojceichowski
                                                                         1                                                                      $0.00


 Raymond Pinkney
                                                                         1                                                                      $0.00


 Roger Vanderklok
                                                                         1                                                                      $0.00


 Charles Kieser
                                                                         1                                                                      $0.00


                                                                         1                                                                      $0.00



                                                                                                                                                $0.00


                                                                                                                   TOTAL                        $0.00


                                                                      NOTICE

  Section 1924, Title 28, U.S. Code (effective September 1, 1948) provides:
  ³6HF9HULILFDWLRQRIELOORIFRVWV´
      ³%HIRUHDQ\ELOORIFRVWVLVWD[HGWKHSDUW\FODLPLQJDQ\LWHPRIFRVWRUGLVEXUVHPHQWVKDOODWWDFKWKHUHWRDQDIILGDYLWPDGHE\KLPVHOIRUE\
  KLVGXO\DXWKRUL]HGDWWRUQH\RUDJHQWKDYLQJNQRZOHGJHRIWKHIDFWVWKDWVXFKLWHPLVFRUUHFWDQGKDVEHHQQHFHVVDULO\LQFXUUHGLQWKHFDVHDQG
  WKDWWKHVHUYLFHVIRUZKLFKIHHVKDYHEHHQFKDUJHGZHUHDFWXDOO\DQGQHFHVVDULO\SHUIRUPHG´

  See also Section 1920 of Title 28, which reads in part as follows:
      ³$ELOORIFRVWVVKDOOEHILOHGLQWKHFDVHDQGXSRQDOORZDQFHLQFOXGHGLQWKHMXGJPHQWRUGHFUHH´

  The Federal Rules of Civil Procedure contain the following provisions:
  RULE 54(d)(1)
  &RVWV2WKHUWKDQ$WWRUQH\V¶)HHV
      8QOHVVDIHGHUDOVWDWXWHWKHVHUXOHVRU DFRXUWRUGHUSURYLGHVRWKHUZLVHFRVW V²RWKHUWKDQDWWRUQH\ 
VIHHV²VKRXOGEHDOOR ZHGWRWKH
  SUHYDLOLQJSDUW\%XWFRVWVDJDLQVWWKH8QLWHG6WDWHVLWVRIILFHUVDQGLWVDJHQFLHVPD\EHLPSRVHGRQO\WRWKHH[WHQWDOORZHGE\ODZ7KHFOHUN
  PD\WD[FRVWVRQGD\
VQRWLFH2QPRWLRQVHUYHGZLWKLQWKHQH[WGD\VWKHFRXUWPD\UHYLHZWKHFOHUN
VDFWLRQ.

  RULE 6
  G$GGLWLRQDO7LPH$IWHU&HUWDLQ.LQGVRI6HUYLFH

      :KHQDSDUW\PD\RUPXVWDFWZLWKLQDVSHFLILHGWLPHDIWHUVHUYLFHDQGVHUYLFHLVPDGHXQGHU5XOHE&'(RU)GD\VDUH
  DGGHGDIWHUWKHSHULRGZRXOGRWKHUZLVHH[SLUHXQGHU5XOHD
  RULE 58(e)
  &RVWRU)HH$ZDUGV
       2UGLQDULO\WKHHQWU\RIMXGJPHQWPD\QRWEHGHOD\HGQRUWKHWLPHIRUDSSHDOH[WHQGHGLQRUGHUWRWD[FRVWVRUDZDUGIHHV%XWLID
  WLPHO\PRWLRQIRUDWWRUQH\
VIHHVLVPDGHXQGHU5XOHGWKHFRXUWPD\DFWEHIRUHDQRWLFHRIDSSHDOKDVEHHQILOHGDQGEHFRPH
  HIIHFWLYHWRRUGHUWKDWWKHPRWLRQKDYHWKHVDPHHIIHFWXQGHU)HGHUDO5XOHRI$SSHOODWH3URFHGXUHDDVDWLPHO\PRWLRQXQGHU5XOH
           Case 2:15-cv-00370-GJP Document 112 Filed 04/30/18 Page 3 of 5



                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 ROGER VANDERKLOK,                                  : CIVIL ACTION
                                                    :
                               Plaintiffs,          :
                                                    :
                v.                                  : No. 2:15-cv-00370-GJP
                                                    :
 UNITED STATES OF AMERICA, et al,                   :
                                                    :
                               Defendant.           :
                                                    :
                                                    :
                                                    :
                                                    :


               ITEMIZATION TO BILL OF COSTS OF CHARLES KIESER




Fees of the court reporter for all or any part of the transcript necessarily obtained for use
in the case

06/09/16       Court Reporter Service, Golkow                            695.35
               (Det. Michael Wojceichowski)
06/09/16       Court Reporter Service, Golkow                            792.20
               (Raymond Pinkney)
07/16/16       Court Reporter Service, Golkow                            793.50
               (Roger Vanderklok)
07/16/16       Court Reporter Service, Magna                             1266.15
               (Charles Kieser)
        Case 2:15-cv-00370-GJP Document 112 Filed 04/30/18 Page 4 of 5



                                    ARCHER & GREINER
                                    A Professional Corporation
                                    Attorneys for Charles Kieser,

Dated: April 30, 2018               Respectfully submitted,

                                    /s/ Jeffrey M. Scott
                                    Jeffrey M. Scott, Esq.
                                    Archer & Greiner, P.C.
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                                    Philadelphia, PA 19107
                                    (215) 963-3300
                                    jscott@archerlaw.com
          Case 2:15-cv-00370-GJP Document 112 Filed 04/30/18 Page 5 of 5



                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 ROGER VANDERKLOK,                                   : CIVIL ACTION
                                                     :
                               Plaintiffs,           :
                                                     :
               v.                                    : No. 2:15-cv-00370-GJP
                                                     :
 UNITED STATES OF AMERICA, et al,                    :
                                                     :
                               Defendant.            :
                                                     :
                                                     :
                                                     :
                                                     :
                              CERTIFCATION OF SERVICE

       I, JEFFREY M. SCOTT, ESQUIRE, hereby certify that the Bill of Costs and
Disbursements was filed electronically and is available for viewing and downloading from the
ECF system.



                                             ARCHER & GREINER
                                             A Professional Corporation
                                             Attorneys for Charles Kieser,

Dated: April 30, 2018                        Respectfully submitted,

                                             /s/ Jeffrey M. Scott
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